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                          UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


    SPEECH FIRST, INC.,

                        Plaintiff,

    v.                                                Case No: 6:21-cv-313-GAP-DAB

    ALEXANDER CARTWRIGHT,

                        Defendant




                       ORDER OF DISMISSAL WITH PREJUDICE

          Upon consideration of the Stipulation of Dismissal (Doc. 64), and

    pursuant to Fed. R. Civ. P. 41(a), it is hereby

          ORDERED that the stay is lifted and this case is DISMISSED with

    prejudice, each party to bear its own fees and costs. Any pending motions

    are DENIED as moot. The Clerk is directed to close this file.

          DONE and ORDERED in Chambers in Orlando, Florida on

    September 26, 2022.




    Copies furnished to:

    Counsel of Record
    Unrepresented Parties
